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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    Designated Counsel for Service
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3    Sacramento, California 95814
     Telephone (916) 498-5700
4
     Attorney for Defendant
5    NARCISCO GALLEGOS MORALES
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7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )     No. CR-S-05-443 WBS
                                    )
12                   Plaintiff,     )     STIPULATION AND [PROPOSED]
                                    )     ORDER CONTINUING STATUS
13        v.                        )     CONFERENCE AND EXCLUDING TIME
                                    )
14                                  )
     NARCISCO GALLEGOS MORALES.     )     Date: December 20, 2006
15                                  )     Time: 9:00 a.m.
                     Defendant.     )     Judge: William B. Shubb
16                                  )
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           Defendant NARCISCO GALLEGOS MORALES, through his attorney, DANIEL
19
     BRODERICK, respectively, and the United States of America, through its
20
     counsel of record, SAMUEL WONG, stipulate and agree to the following:
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          1.   The presently scheduled status conference date of November 29,
22
     2006, shall be vacated and the case be rescheduled for further status
23
     conference on December 20, 2006 at 9:00 a.m.
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          2.   A superseding indictment in this case was filed November 16,
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     2006, adding a charge of possession of firearms in furtherance of drug
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     trafficking crimes.    Mr. MORALES has not yet been arraigned on this
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     indictment.
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1          3.    Mr. MORALES will be filing non-dispositive and dispositive
2    motions relative to this additional charge.           Counsel for Mr. Morales is
3    currently researching the law relative to this charge and after
4    determining the pre-trial motions to be filed, needs additional time to
5    confer with the attorney for the government in order to decide upon a
6    tentative motions schedule that is acceptable to both parties.                Once
7    that schedule is decided, counsel will confer with this Court’s deputy
8    clerk to insure that the schedule conforms to this Court’s calendar.
9          4.    Counsel for Mr. Morales will be out of the district at a
10   Federal Defender conference from December 3-7, 2006.
11         5.    The ends of justice served by this continuance outweigh the
12   parties’ interest in a speedy trial, as the contemplated pre-trial
13   motions must be decided prior to any trial in this matter.               In
14   addition, this continuance is necessary to allow counsel for the
15   defendant and for the government the reasonable time necessary for
16   effective preparation, taking into account the exercise of due
17   diligence.     The Court may exclude Speedy Trial time pursuant to 18
18   U.S.C. § 3161(h)(8)(A) and (B)(iv) and Local Code T-4 for the above-
19   reasons.
20   IT IS SO STIPULATED.
21   Dated:     November 27, 2006
22   McGregor W. Scott
     United States Attorney
23
     /s/ Samuel Wong                                 /s/ Daniel J. Broderick
24   SAMUEL WONG                                     Federal Defender
     Assistant U.S. Attorney                         Attorney for Defendant
25   Attorney for Plaintiff                          NARCISCO GALLEGOS MORALES
26                                           ORDER
27         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
28   ordered that the case be continued for further status conference from


     Stip. Continuing Status Conference        2
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1    November 29, 2006, to December 20, 2006 at 9:00 a.m.
2          The Court finds excludable time pursuant to 18 U.S.C. §
3    3161(h)(8)(A) and (B)(iv) and Local Code T-4 until December 20, 2006,
4    for the reasons stated in this stipulation and on the grounds that the
5    ends of justice served by this continuance outweigh the parties’
6    interest in a speedy trial, as dispositive and non-dispositive pre-
7    trial motions relative to the newly-filed superseding indictment must
8    be decided prior to any trial in this matter.           In addition, this
9    continuance is necessary to allow counsel for the defendant and for the
10   government the reasonable time necessary for effective preparation of
11   the scheduling and preparation of these motions, taking into account
12   the exercise of due diligence.
13   Dated:    November 29, 2006
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     Stip. Continuing Status Conference        3
